Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.1 Page 1 of 34

UNITED STATES DISTRICT COURT
| EASTERN DISTRICT OF MICHIGAN

Plaintiff,
Vv.

and Severally,

| Defendants.

SOUTHERN DIVISION

KENNETH HEINZERLING,

Case No.
Hon.

WALNUT HILL FEEDS, INC. a foreign
corporation, and DANIEL BYLER, Jointly

 

 

 

5» JOSHUA R. TEREBELO (P72050) ADAM K. GORDON (P45106)

 

 

~ JORDAN M. JONES (P77866) ASHLEY A. SLAGHT (P79211)

« MICHIGAN AUTO LAW, P.C. VANDEVEER GARZIA, P.C.

« Attorneys for Plaintiff Attorneys for Defendants

© 30101 Northwestern Highway 840 W. Long Lake Road

© Suite 100 Suite 600

* Farmington Hills, Ml 48334-6201 Troy, MI 48098
248-353-7575 / Fax 248-254-8091 248-312-2800 / Fax 248-879-
jterebelo@michiganautolaw.com 0042 adamgordon@vapclaw.com
jjones@michiganautolaw.com aslaght@vgpclaw.com

 

 

the following grounds:

 

 

NOTICE OF REMOVAL

NOW COME the Defendants, WALNUT HILL FEEDS, INC. and
DANIEL BYLER, by and through their attorneys, VANDEVEER GARZIA,
P.C., and hereby removes this cause of action to the United States District

Court for the Eastern District of Michigan, Southern Division, based upon

 
Case} 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.2 Page 2 of 34

 

 

VANDEVEER GARZIA P. C.

 

 

1. Defendants, WALNUT HILL FEEDS, INC. and DANIEL
BYLER, are parties to a civil action brought against them in the Circuit
Court for the County of Washtenaw, State of Michigan, entitled:

KENNETH HEINZERLING,
Case No. 19-000361-NI

Plaintiff, Hon. Carol Kuhnke
V.

WALNUT HILL FEEDS, INC. a foreign
corporation, and DANIEL BYLER, Jointly
and Severally,

Defendants.

2. A copy of each and every pleading served upon the
Defendants and filed by the Defendants, specifically, Plaintiff's Complaint
and Defendants’ Answer are attached hereto and that no further
proceedings have been had in the State Court action.

3. The above-described action is a civil action over which this
Court has jurisdiction pursuant to the provisions of Title 28, United States
Code, Section 1332, 1367, 1441 and 1446, and one which may be
removed to this Court by Defendants pursuant to the provisions of Title 28,
United States Code, Section 1367, 1441 and 1446, in that it is a civil
action, which is between citizens of different states as more specifically

set forth herein, and in which the claims which have been asserted are

related to an action within which this Court has jurisdiction insofar as they

 
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VANDEVEER GARZIA P. ¢. ——

 

 

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form part of the same case or controversy as more specifically set forth
below.

4. That Plaintiff, KENNETH HEINZERLING, is a resident of the
City of LaSalle, County of Monroe, and State of Michigan as alleged in
paragraph 2 of the Complaint filed in the Circuit Court for the County of
Washtenaw, State of Michigan.

5. That Defendant, WALNUT HILL FEEDS, INC. was at the time
of the commencement of this action and at all times prior and subsequent
thereto, a corporation duly created and organized by and under the laws
of the State of Ohio, and by virtue of said incorporation was and is a
resident of the State of Ohio, and was not, and is not, and never has
been, a corporation created or organized under the laws of the State of
Michigan, and was not and is not and never has been, a resident of the
State of Michigan.

6. That Defendant, WALNUT HILL FEEDS, INC., has a principal
place of business located at 6048 State Route 598, Shelby, Ohio 44875
located in the County of Crawford and State of Ohio and does not and
never has had a principal place of business in the State of Michigan, nor is
it, nor has it ever been, a citizen of the State of Michigan.

7. That Defendant, DANIEL BYLER, was at the time of the

commencement of this action and at all times prior and subsequent

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VANDEVEER GARZIA P.C.

 

 

2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.4 Page 4 of 34

thereto, a private individual residing in the County of Richland, State of
Ohio, and was not, and is not, and never has been, a resident of the State
of Michigan.

8. That the Plaintiff herein alleges personal injuries arising out of
a motor vehicle accident occurring on September 6, 2018, in the Township
of York, County of Washtenaw, and State of Michigan seeking to recover
damages pursuant to MCLA 500.3101 et sequence including interests and
attorney fees as set forth in Plaintiff's Complaint attached hereto.

9. That complete diversity exists with respect to this action in that
Plaintiff is a resident of the State of Michigan while Defendants were, are
and remain either a foreign corporation or a resident of a foreign State,
more particularly Ohio.

10. That removal of this case has been filed within thirty (30) days
after the receipt by the Defendant of the Summons and Complaint, the
same having been first served upon the Defendant, WALNUT HILL
FEEDS, INC. on May 8, 2019. A copy of the Summons and Complaint is
attached to this Notice of Removal.

11. That the Defendants seek removal of this action from the
Washtenaw County Circuit Court, State of Michigan to the United States
District Court, Eastern District of Michigan, Southern Division based upon

diversity.

 
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VANDEVEER GARZIA P. C.

 

 

P:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.5 Page 5 of 34

12. That pursuant to E.D. Mich LR 81.1, the Defendants alleged
the amount in controversy exceeds the required jurisdictional amount, and
the Defendants set forth facts and information known to Defendants, at
this time, which leave Defendants to believe the amount in controversy
exceeds Seventy-Five Thousand ($75,000.00) Dollars, the threshold for
jurisdiction in this action, based upon the allegations of negligence and
gross negligence resulting in Plaintiff allegedly being “seriously injured”
and suffering “serious impairment of a body function and/or permanent
serious disfigurement” to areas of his body including his head, neck, back,
left hip and knees, all of which interfere with his ability to enjoy his life and
result in “great pain and suffering” which may allegedly be permanent in
nature according to the allegations as set forth in Plaintiff's Complaint.

13. Further, upon information and belief, the damages sought by
Plaintiff exceed Seventy-Five Thousand ($75,000.00) Dollars, and Plaintiff
continues to allege pain and suffering and excess economic damages
which may be permanent in nature based upon the allegations as set forth
in Plaintiff's Complaint. Accordingly, with a determination of liability, the
damages sought could result in an award rendered in excess of Seventy-
Five Thousand ($75,000.00) Dollars, exclusive of interests and attorney

fees.

WHEREFORE, Defendants, WALNUT HILL FEEDS, INC. and

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2:19-cv-11576-VAR-DRG ECF No. 1 filed 05/29/19 PagelD.6 Page 6 of 34

DANIEL BYLER, pray the above entitled action pending in the County for
Washtenaw, State of Michigan, be removed therefrom to this Honorable

Court.

Respectfully submitted,

VANDEVEER GARZ

 
 
   
 

 

 

ADAM K: RDON (P45106)
ASHLEY & SLAGHT (P79211)
VANDEWEER GARZIA, P.C.
Attorneys for Defendants

840 W. Long Lake Rd., Ste. 600

Troy, MI 48098-6340
248-312-2800

 

 

Dated: May 29, 2019

PROOF OF SERVICE

VANDEVEER GARZIA P.C.

The undersigned certifies that a copy of the above document
was served on the attorneys of record for all parties in this
matter by:

Hand delivery .

Facsimile transmission

Electronic mail

Mailing, by first-class mail with postage fully prepaid
Overnight delivery

Court’s e-File system

to them at their respective business addresses, as disclosed
by the pleadings of record, on

3-29-19

| declare that the statement above is true tothe best of my
information, knowledge apd belief. - -

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Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.7 Page 7 of 34

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW
KENNETH HEINZERLING. Case No: 19- Slo | -NI
Hon.
Plaintiff. Carol Kubinke

VS.

 

= WALNUT HILL FEEDS. INC.. a foreign
corporation, and DANIEL BYLER. Jointly

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Defendants. rm

ila MI 48334 (248) 3

=JOSHUA R. TEREBELO (P72050)
‘EJ ORDAN M. JONES (P77866)
MICHIGAN AUTO LAW. P.-C.

E £Attomeys for Plaintiff

230101 Northwestern Highway

2 Farmington Hills, MI 48334
(248) 3 Bo8-75253 Fax OB) 254-8091

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alleged in the complai

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NOW COMES tife above-named Plaintiff, KENNETH HEINZERLING. by and through his

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ll attorneys. MICHIGAN AUTO LAW. P.C.. and says:
1. That the amount in controversy exceeds Twenty-Five Thousand ($25.000.00) Dollars.

2. That the Plaintiff, KENNETH HEINZERLING. at ail times material hereto. was 4

 

resident of the City of La Salle. County of Monroe, and State of Michigan.

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.8 Page 8 of 34

3. That the Defendant, DANIEL BYLER, at all times material hereto, was a resident of
the City of Ashland, County of Ashland, and State of Ohio.

4. That the Defendant, WALNUT HILL FEEDS, INC., is a foreign corporation
authorized to do business in the City of Ann Arbor, County of Washtenaw, and State of Michigan,

by virtue of the Statutes of the State of Michigan and was at all times material hereto, doing business

 

as Plaintiff is informed and believes.

53-7575

COUNT I
5. That on or about September 6, 2018, at or about 10:00 a.m., the Plaintiff, KENNETH

= HEINZERLING, was driving North on US-23 at or near the US 23 Crossover, in York Township,

‘on Hills MI 48334 (248) 3.

County of Washtenaw and State of Michigan.
6. That at the aforementioned time and place, the Defendant, DANIEL BYLER, was
driving a 2000 semi-truck, license number TQZ3188, with the express and implied consent and

knowledge of its owner, WALNUT HILL FEEDS, INC., and was in the course and scope of his

30101 Northwestern Highway, Fa

employment with WALNUT HILL FEEDS, INC., said company being liable under the doctrine of

Law,

Respondeat Superior and the Owner’s Liability Act.

7. At that time and place, the Defendant, DANIEL BYLER, owed the Plaintiff, and the

Michigan Auto

public the duty to obey and drive in conformity with the duties embodied in the Common Law, the
Motor Vehicle Code of the State of Michigan, as amended, and the ordinances of York Township.
8. That the Defendant, DANIEL BYLER, did then and there display gross negligence
and ordinary negligence and misconduct by failing to stop in an assured clear distance and rear-
ending the Plaintiff.
9. That at the said time and place, Defendants DANIEL BYLER and WALNUT HILL

FEEDS, INC. were guilty of gross negligence and ordinary negligence and misconduct as follows:

 

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.9 Page 9 of 34

 

A. In driving at an excessive rate of speed, under the conditions then and there
existing;

B. In driving in such a manner as to be unable to stop within the assured clear
distance ahead;

Cc. In failing to keep a reasonable lookout for other persons and vehicles using
said highway;

D. In failing to have the vehicle equipped with proper brakes and/or failing to

apply said brakes in time;
EB. In failing to drive with due care and caution;
F. In failing to take all possible precautions to avoid any collision with other

motor vehicles; and
G. In failing to make and/or renew observations of the conditions of traffic on the
highway.
10. The Defendant DANIEL BYLER was further negligent in failing to obey and drive in

conformity with the Common Law and the Motor Vehicle Code of the State of Michigan as amended

n Auto Law, 30101 Northwestem Highway, Farmington Hills MI 48334 (248) 353-7575

and ordinances of York Township.

Michiga

11. That among those Statutes Defendants DANIEL BYLER and WALNUT HILL

FEEDS, INC. violated include, but are not limited to the following:

M.C.L. 257.401 Owner liability;

M.C.L. 257.402 Vehicle struck from rear;

M.C.LL. 257.602(b) Reading, typing or sending text message
M.C.L. 257.626 Reckless driving;

M.C.L. 257.626(b) Careless or negligent driving;

 

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelID.10 Page 10 of 34

 

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permanent in nature.

 

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257.683

257.705
257.709

480.11, et seq.

General restrictions as to speed - assured clear
distance ahead;

Failure to observe a speed limit or traffic control
sign or signal;

Following too closely;
View or control of driver;

Unlawful to drive or, as owner, permit to be
driven or moved unsafe vehicle;

Brakes;
Unobstructed windshield and windows;
Motor Carrier Safety Act of 1963; and

Motor Carrier Safety Act
Code of Federal Regulations.

12. That Defendants’ negligence was the proximate cause of Plaintiff KENNETH
HEINZERLING being seriously injured, suffering a serious impairment of body function and/or
permanent serious disfigurement plus other injuries to the head, neck, back, left hip, knees, and to
other parts of his body, externally and internally, and some or all of which interferes with his
enjoyment of life and experiencing great pain and suffering.

13. Thatasa proximate result of said injuries, the Plaintiff KENNETH HEINZERLING
suffered traumatic shock and injury to the nervous system, causing severe mental and emotional
anguish, which interferes with his enjoyment of life and may require psychiatric treatment, and more

generally became sick and disabled, and some or all of said injuries, as set forth herein, may be

14. That should it be determined at the time of trial that the said Plaintiff KENNETH

HEINZERLING was suffering from any pre-existing conditions, at the time of the aforesaid

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.11 Page 11 of 34

collision, then and in such event, it is averred that the negligence of Defendant precipitated,
exacerbated and aggravated any such pre-existing conditions.

WHEREFORE, the Plaintiff, KENNETH HEINZERLING, now claims judgment for
whatever amount he Is found to be entitled, plus court costs, attomey fees and interest from the date

of filing this Complaint.

 

COUNT I

NOW COMES the Plaintiff, KENNETH HEINZERLING, and adds a Count II as follows:

15. Plaintiff hereby realleges, reaffirms and incorporates herein by reference all

Hills MI 48334 (248) 353-7575

allegations in paragraphs numbered 1-14.

16. Plaintiff hereby claims damages for allowable expenses and work loss in excess of the

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aily, monthly, and three (3) year limitations plus all other economic damages allowable under the

Michigan No-Fault Law.

™m Highway, Farmington

17. Plaintiff hereby claims all non-economic damages for the serious impairment of body

101 Northweste:

function and/or permanent serious disfigurement as more clearly set out in the injuries listed in
Count I.

WHEREFORE, the Plaintiff, KENNETH HEINZERLING, now claims judgment for

higan Auto Law, 30:

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whatever amount he is found to be entitled, plus court costs, attorney fees and interest from the date
of filing this Complaint.
COUNT Hil
NOW COMES the Plaintiff, KENNETH HEINZERLING, and adds a Count Ii as follows:

18. Plaintiff hereby realleges, reaffirms and incorporate herein by reference all allegations

in paragraphs numbered 1-17.

 

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelID.12 Page 12 of 34

19. WALNUT HILL FEEDS, INC. is the employer of DANIEL BYLER who was acting
within the course and scope of his employment with Defendant WALNUT HILL FEEDS, INC. at
the time of the accident herein,

20. That in addition to the allegations set out in Counts I and II, Defendant DANIEL

 

BYLER's employer, WALNUT HILL FEEDS, INC. is liable for Defendant DANIEL BYLER's

35-7575,

negligence under the doctrine of Respondent Superior.
21.  Inthealternative, Defendant DANIEL BYLER was an independent contractor acting

under the control and direction of Defendant WALNUT HILL FEEDS, INC., and in furtherance of

n Hills MI 48334 (248) 35

WALNUT HILL FEEDS, INC.’s business operations, such that WALNUT HILL FEEDS, INC. is

‘Jliable for the negligence of Defendant DANIEL BYLER under the statutory employee doctrine

, Pa

and/or statutory owner doctrine, set forth in the applicable Michigan State Statutes, and the Motor
© Carrier Safety Act, Title 49 of the Code of Federal Regulations.
22. That as a proximate cause of Defendant DANIEL BYLER's negligence, Plaintiff

KENNETH HEINZERLING was seriously injured and suffered additional injuries and damages as

Law, 30101 Northwestern Highwa:

set out in Counts I and II.

WHEREFORE, the Plaintiff, KENNETH HEINZERLING now claims judgment for

Michigan Auto

whatever amount he is found to be entitled, plus court costs, attorney fees and interest from the date
of filing this complaint.
COUNT IV
NOW COMES the Plaintiff, KENNETH HEINZERLING, and adds a Count IV as follows:
23. Plaintiff hereby realleges, reaffirms and incorporates herein by reference all
allegations in paragraphs numbered 1-22.
24. Defendant WALNUT HILL FEEDS, INC. owed the Plaintiff and the public at a large

a duty to comply, and act in accordance with, the standards and requirements set forth in the Motor

 

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.13 Page 13 of 34

Carrier Safety Act, Title 49 of the Code of Federal Regulations; The Federal Motor Carrier Safety
Regulations; and the Michigan Motor Carrier Safety Act of 1963.
25. Defendant WALNUT HILL FEEDS, INC. was directly negligent, independent of the

negligence of Defendant DANIEL BYLER, in failing to comply with the standards and requirements

 

as set forth in the Motor Carrier Safety Act, Title 49 of the Code of Federal Regulations; the Federal

Motor Carrier Safety Regulations; and the Michigan Motor Carrier Safety Act of 1963; in one or

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248) 3

more of the following ways:

A. Failing to properly screen and investigate Defendant DANIEL BYLER prior
to hiring him, or in hiring him notwithstanding knowledge of his
inexperience, lack of knowledge, and poor driving record and safety record;

B. Failing to properly direct, instruct, supervise, and train and/or control,
Defendant DANIEL BYLER regarding the safe operation of a commercial
vehicle and compliance with applicable Federal and Michigan Statutes;

Cc. Failing to take steps to ensure Defendant DANIEL BYLER’s compliance
with applicable Federal and Michigan statutes, and the standard of care fora

truck driver; and

Michigan Auto Law, 30101 Northwestern Highway, Farmington Hills MI 48334 ¢:

D. Failing to systematically and properly inspect and maintain a vehicle under
its ownership or control, the 2000 Pace, license number TQZ3188, in
accordance with the standards set forth in the Federal Motor Carrier Safety
Regulations and Michigan Motor Carrier Safety Act.

26. Defendant WALNUT HILL FEEDS, INC. was negligent in failing to ensure that its

employees and/or independent contractors adhere to the proper Federal and State regulations and/or

 

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.14 Page 14 of 34

failed to properly hire, direct, instruct, supervise, train, and/or control its employees, including but
not limited to Defendant DANIEL BYLER.

27. The negligence of Defendant WALNUT HILL FEEDS, INC. in hiring, directing,
instructing, supervising, training and/or controlling Defendant DANIEL BYLER was a cause of the

collision.

 

28, Defendant WALNUT HILL FEEDS, INC. was negligent in failing to ensure that the
vehicles under its ownership or control were systematically and properly inspected, maintained, and

repaired, as required by the Motor Carrier Safety Act, Title 49 of the Code of Federal Regulations;

Hills MI 48334 (248) 353-7575

the Federal Motor Carrier Safety Regulations; and the Motor Carrier Safety Act of 1963.

29. The negligence of Defendant WALNUT HILL FEEDS, INC. in systematically

hway, Farmington

inspecting, maintaining, and repairing the vehicles under its ownership or control, was a cause of the

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collision.
30. The Defendant, WALNUT HILL FEEDS, INC., carelessly, recklessly and negligently
entrusted the aforementioned motor vehicle and the operation thereof to the defendant-driver, the

latter being a person incompetent and unfit to drive a motor vehicle upon the highway of the State of

Auto Law, 30101 Northweste:

gMichigan by reason of inability, inexperience, lack of knowledge, and consistently negligent driving,
z all of which were known by Defendant WALNUT HILL FEEDS, INC., or should have been known
in the exercise of reasonable care and caution, such that the defendant-owners are hereby guilty of
negligence, independent of the defendant-driver.

31. The negligence of Defendant WALNUT HILL FEEDS, INC. in entrusting the
aforementioned motor vehicle, and the operation thereof, to Defendant DANIEL BYLER, was a

cause of the collision.

 

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelID.15 Page 15 of 34

WHEREFORE, the Plaintiff, KENNETH HEINZERLING, now claims judgment for
whatever amount he is found to be entitled, plus costs, attorney fees and interest from the date of

filing this Complaint.

 

 

Respectfully Submitted,
MICHIGAN AUTO LAW, P.C.
z BY: E44
& from R. TEREBELO (P72050)
= from for Plaintiff
= Dated: March 29, 2019

DEMAND FOR JURY TRIAL
NOW COMES the Plaintiff. KENNETH HEINZERLING, by and through his attomeys,
¢MIC HIGAN AUTO LAW. P.C. and hereby demands a trial by jury in the above-entitled matter.

Respectfully Submitted,

J0101 Northwestern Highway, Furmington Fill

MICHIGAN AUTO LAW, P-C.

 

Michigan Auty Liw,

 

Dated: March 29, 2019

 

 
Case 2:

 

 

VANDEVEER GARZIA P.C.

 

 

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TIME STAMP

STATE OF MICHIGAN
IN THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW

KENNETH HEINZERLING,
Case No. 19-000361-NI

Plaintiff, Hon. Carole Kuhnke
V.
WALNUT HILL FEEDS, INC. a foreign RECEIVED
corporation, and DANIEL BYLER, Jointly
and Severally, MAY 28 2019
Defendants. Washtenaw County

Clerk of the Court

 

 

JOSHUA R. TEREBELO (P72050) ADAM K. GORDON (P45106)
JORDAN M. JONES (P77866) ASHLEY A. SLAGHT (P79211)
MICHIGAN AUTO LAW, P.C. VANDEVEER GARZIA, P.C.
Attorneys for Plaintiff Attorneys for Defendants

30101 Northwestern Highway 840 W. Long Lake Road

Suite 100 Suite 600

Farmington Hills, MI 48334-6201 Troy, MI 48098

248-353-7575 / Fax 248-254-8091 248-312-2800 / Fax 248-879-0042
jterebelo@michiganautolaw.com adamgordon@vapclaw.com
jjones@michiganautolaw.com aslaght@vgpclaw.com

 

 

NOTICE OF ENTRY OF APPEARANCE
TO: JOSHUA R. TEREBELO (P72050)
JORDAN M. JONES (P77866)
MICHIGAN AUTO LAW, P.C.
PLEASE TAKE NOTICE that we have this date entered our Appearance as
attorneys for Defendants WALNUT HILL FEEDS, INC. and DANIEL BYLER, in the

above-entitled action.

 
Case 2

 

 

VANDEVEER GQARZIA P,C.

 

 

119-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.17 Page 17 of 34

Respectfully submitted,

VANDEVEER GAR@IA,P.C.

By:

 

ADAM K\GORDON (P45106)
ASHLEY A. SLAGHT (P79211)
VANDEVEER GARZIA, P.C.
Attorneys for Defendants
840 W. Long Lake Rd., Ste. 600
Troy, MI 48098-6340
248-312-2800

Dated: May 28, 2019

PROOF OF SERVICE

The undersigned certifies that a copy of the above document was served
on the attorneys of record for all parties in this matter by:

Hand delivery

Facsimile transmission

Electronic mail

Mailing, by first-class mail with postage fully prepaid
Overnight delivery

Court's e-File system

| oT |

to them at their respective business addresses, as disclosed by the
pleadings of record, on S- = Sl

| declare that the statement above is
knowledge and belief.

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e best of my information,

  
 
 
 

 

 
Case 2

9-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.18 Page 18 of 34

STATE OF wicuicaNl IME STAMP

IN THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW

KENNETH HEINZERLING,
Case No. 19-000361-NI

Plaintiff, Hon. Carole Kuhnke
V.
WALNUT HILL FEEDS, INC. a foreign RECEIVED
corporation, and DANIEL BYLER, Jointly
and Severally, MAY 28 2019
Defendants. Washtenaw County

Clerk of the Court

 

 

VANDEVEER GARZIA P.C.

 

 

 

 

 

JOSHUA R. TEREBELO (P72050) ADAM K. GORDON (P45106)

JORDAN M. JONES (P77866) ASHLEY A. SLAGHT (P79211)

MICHIGAN AUTO LAW, P.C. VANDEVEER GARZIA, P.C.

Attorneys for Plaintiff Attorneys for Defendants

30101 Northwestern Highway 840 W. Long Lake Road

Suite 100 Suite 600

Farmington Hills, Ml 48334-6201 Troy, MI 48098

248-353-7575 / Fax 248-254-8091 248-312-2800 / Fax 248-879-0042

jterebelo@michiganautolaw.com adamgordon@vgpclaw.com

jjones@michiganautolaw.com aslaght@vgpclaw.com
APPEARANCE

TO: CLERK OF THE COURT
Please enter the appearance of VANDEVEER GARZIA, P.C. as counsel for

Defendants, WALNUT HILL FEEDS, INC. and DANIEL BYLER.

Respectfully submitted,

VANDEVEER G » P.O,

 

By:

ADAM. GORDON (P45106)

ASHLEY A. SLAGHT (P79211)

VANDEVEER GARZIA, P.C.

Attorneys for Defendants

840 W. Long Lake Rd., Ste. 600
Dated: May 28, 2019 Troy, MI 48098-6340

 

 

 
Case 2:(19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.19 Page 19 of 34

PROOF OF SERVICE

The undersigned certifies that a copy of the above document was served
on the attorneys of record for all parties in this matter by:

Hand delivery

Facsimile transmission

Electronic mail

Mailing, by first-class mail with Boge fully prepaid
Overnight delivery

Court's e-File system

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to them at their respective business ssn: as disclosed by the
pleadings of record, on F Lg .

 

| declare that the statement above is true to the best of my information,
knowledge and belief.

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VANDEVEER GARZ!IA P.C.

 

 

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelID.20 Page 20 of 34

|

 

 

VANDEVEER GARZIA PLC.”

 

 

state of MICHIGAN MIE STAMP

IN THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW

KENNETH HEINZERLING,
Case No. 19-000361-N]

Plaintiff, Hon. Carole Kuhnke
V.
WALNUT HILL FEEDS, INC. a foreign RECEIVED
corporation, and DANIEL BYLER, Jointly
and Severally, MAY 28 2019
Defendants. Washtenaw County

Clerk of the Court

 

 

 

JOSHUA R. TEREBELO (P72050) ADAM K. GORDON (P45106)
JORDAN M. JONES (P77866) ASHLEY A. SLAGHT (P79211)
MICHIGAN AUTO LAW, P.C. VANDEVEER GARZIA, P.C.
Attorneys for Plaintiff Attorneys for Defendants

30101 Northwestern Highway 840 W. Long Lake Road

Suite 100 Suite 600

Farmington Hills, MI 48334-6201 Troy, Mi 48098

248-353-7575 | Fax 248-254-8091 248-312-2800 / Fax 248-879-0042
jterebelo@michiganautolaw.com adamgordon@vapclaw.com
jjones@michiganautolaw.com aslaght@vagpclaw.com

 

DEFENDANTS’ ANSWER TO PLAINTIFF’S COMPLAINT
NOW COME the Defendants, WALNUT HILL FEEDS, INC. and DANIEL
BYLER, by and through their attorneys, VANDEVEER GARZIA, P.C., by ADAM K.
GORDON, pursuant to MCR 2.111 and in Answer to Plaintiff's Complaint by like
numbered paragraphs states as follows:
1. That the Defendants neither admit nor deny the allegations contained in
paragraph 1 of the Plaintiff's Complaint for the reason that the allegations state the

nature of the relief sought and therefore no answer is required.

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.21 Page 21 of 34

 

 

VANDEVEER GARZIA P. CG,

 

 

2. That without specific information or knowledge upon which to base a
belief, the Defendants neither admit nor deny the allegations contained in paragraph 2
of the Plaintiff's Complaint and therefore leaves the Plaintiff to his proofs.

3. That the allegations contained in paragraph 3 of the Plaintiffs Complaint
are denied as untrue for the reason that Defendant Daniel Byler was a resident of
Mansfield Ohio in the county of Richland, and state of Ohio, at all times relevant to this
matter.

4. That the Defendant Walnut Hill Feeds, Inc. admits as true that it is a
foreign corporation. With regard to the remaining allegations contained within this
paragraph, that without specific information or Knowledge upon which to base a belief,
the Defendant neither admits nor denies said allegations and therefore leaves the

Plaintiff to his proofs.

COUNT |

Sy That without specific information or knowledge upon which to base a
belief, the Defendants neither admit nor deny the allegations contained in paragraph 5
of the Plaintiff's Complaint and therefore leaves the Plaintiff to his proofs.

6. That the allegations contained in paragraph 6 of the Plaintiff's Complaint
are denied as untrue in the manner and form in which they are alleged. I!n further
answer to these allegations, see the Defendants’ Affirmative and other Defenses.

i. That without specific information or knowledge upon which to base a
belief, the Defendants neither admit nor deny the allegations contained in paragraph 7
of the Plaintiff's Complaint and therefore leaves the Plaintiff to his proofs. In further

answer to these allegations, see the Defendants’ Affirmative and other Defenses.

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.22 Page 22 of 34

 

 

VANDEVEER GARZ!A P.C,

 

 

8. That the allegations contained in paragraph 8 of the Plaintiffs Complaint
are denied as untrue in the manner and form in which they are alleged. In further
answer to these allegations, see the Defendants’ Affirmative and other Defenses.

9, That the allegations contained in paragraph 9 of the Plaintiff's Complaint
are denied as untrue in the manner and form in which they are alleged including
subparagraphs A through G. In further answer to these allegations, see the
Defendants’ Affirmative and other Defenses.

10. That without specific information or knowledge upon which to base a
belief, the Defendants neither admit nor deny the allegations contained in paragraph 10
of the Plaintiffs Complaint and therefore leaves the Plaintiff to his proofs. In further
answer to these allegations, see the Defendants’ Affirmative and other Defenses.

11. That the allegations contained in paragraph 11 of the Plaintiff's Complaint
are denied as untrue in the manner and form in which they are alleged. In further
answer to these allegations, see the Defendants’ Affirmative and other Defenses.

12. That the allegations contained in paragraph 12 of the Plaintiff's Complaint
are denied as untrue in the manner and form in which they are alleged. In further
answer to these allegations, see the Defendants’ Affirmative and other Defenses.

13. That without specific information or knowledge upon which to base a
belief, the Defendants neither admit nor deny the allegations contained in paragraph 13
of the Plaintiff's Complaint and therefore leaves the Plaintiff to his proofs. in further
answer to these allegations, see the Defendants’ Affirmative and other Defenses.

14. That without specific information or knowledge upon which to base a

belief, the Defendants neither admit nor deny the allegations contained in paragraph 14

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.23 Page 23 of 34

 

 

VANODEVEER GARZIA °.G.

 

 

of the Plaintiff's Complaint and therefore leaves the Plaintiff to his proofs. In further

answer to these allegations, see the Defendants’ Affirmative and other Defenses.

WHEREFORE, Defendants, WALNUT HILL FEEDS, INC. and DANIEL BYLER,
respectfully request this Court enter their order striking Plaintiff's Complaint; for
summary disposition of dismissal and/or for no cause of action and award costs,
interest and attorney fees wrongfully incurred.

COUNT II

15. That the Defendants incorporate by reference and reallege their answers
to paragraphs 1 — 14 of Plaintiff's Complaint as those set forth herein word for word.

16. That the Defendants deny as untrue any allegation Plaintiff is entitled to
recover the damages as alleged in paragraph 16 of Plaintiff's Complaint. In further
answer to these allegations, see the Defendants’ Affirmative and other Defenses.

17. That the Defendants deny as untrue any allegation that the Plaintiff is
entitled to recover the damages as alleged in paragraph 17 of Plaintiff's Complaint. In
further answer to these allegations, see the Defendants’ Affirmative and other
Defenses.

WHEREFORE, Defendants, WALNUT HILL FEEDS, INC. and DANIEL BYLER,
respectfully requests this Court enter their order striking Plaintiff's Complaint; for
summary disposition of dismissal and/or for no cause of action and award costs,
interest and attorney fees wrongfully incurred.

COUNT III
18. That the Defendants incorporate by reference and reallege their answers

to paragraphs 1 — 17 of Plaintiffs Complaint as those set forth herein word for word.

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.24 Page 24 of 34

 

 

VANDEVEER GARZIA P.C,

 

 

119. That. based upon information and belief, the allegations set forth in
paragraph 19 of Plaintiffs Complaint are admitted as true.

20. That the allegations contained in paragraph 20 of the Plaintiff's Complaint
are denied as untrue in the manner and form in which they are alleged. In further
answer to these allegations, see the Defendants’ Affirmative and other Defenses.

21. That without specific information or knowledge upon which to base a
belief, the Defendants neither admit nor deny the allegations contained in paragraph 21
of the Plaintiff's Complaint and therefore leaves the Plaintiff to his proofs.

22. That the allegations contained in paragraph 22 of the Plaintiff's Complaint
are denied as untrue in the manner and form in which they are alleged. In further
answer to these allegations, see the Defendants’ Affirmative and other Defenses.

WHEREFORE, Defendants, WALNUT HILL FEEDS, INC. and DANIEL BYLER,
respectfully requests this Court enter their order striking Plaintiff's Complaint; for
summary disposition of dismissal and/or for no cause of action and award costs,
interest and attorney fees wrongfully incurred.

23. That the Defendants incorporate by reference and reallege their answers
to paragraphs 1 — 22 of Plaintiff's Complaint as those set forth herein word for word.

24. That without specific information or knowledge upon which to base a
belief, the Defendants neither admit nor deny the allegations contained in paragraph 24
of the Plaintiff's Complaint and therefore leaves the Plaintiff to his proofs.

25. That the allegations contained in paragraph 25 of the Plaintiff's Complaint
inclusive of subparagraphs A through D are denied as untrue. In further answer to

these allegations, see the Defendants’ Affirmative and other Defenses.

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelID.25 Page 25 of 34

 

 

VANDEVEER GARZIA PLC.

 

 

26. That the allegations contained in paragraph 26 of the Plaintiff's Complaint
are denied as untrue in the manner. In further answer to these allegations, see the
Defendants’ Affirmative and other Defenses.

27. That the allegations contained in paragraph 27 of the Plaintiff's Complaint
are denied as untrue. In further answer to these allegations, see the Defendants’
Affirmative and other Defenses.

28. ‘That the allegations contained in paragraph 28 of the Plaintiff's Complaint
are denied as untrue. In further answer to these allegations, see the Defendants’
Affirmative and other Defenses.

29. ‘That the allegations contained in paragraph 29 of the Plaintiff's Complaint
are denied as untrue. In further answer to these allegations, see the Defendants’
Affirmative and other Defenses.

30. That the allegations contained in paragraph 30 of the Plaintiff's Complaint
are denied as untrue. In further answer to these allegations, see the Defendants’
Affirmative and other Defenses.

31. That the allegations contained in paragraph 31 of the Plaintiff's Complaint
are denied as untrue. In further answer to these allegations, see the Defendants’
Affirmative and other Defenses.

WHEREFORE, Defendants, WALNUT HILL FEEDS, INC. and DANIEL BYLER,
respectfully requests this Court enter their order striking Plaintiff's Complaint; for
summary disposition of dismissal and/or for no cause of action and award costs,

interest and attorney fees wrongfully incurred.

 
Case 2:19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.26 Page 26 of 34

 

 

VANDEVEER GARZIA P. CG.

 

 

Respectfully submitted,

VANDEVEER GARZIA, P.C,

    

 

ON (P45106)
ASHCEYA. SLAGHT (P79211)
VANDEVEER GARZIA, P.C,
Attorneys for Defendants
840 W. Long Lake Rad., Ste. 600
Troy, MI 48098-6340
248-312-2800

Dated: May 28, 2019

PROOF OF SERVICE

The undersigned certifies that a copy of the above document was served
on the attorneys of record for all parties in this matter by:

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Facsimile transmission

Electronic mail

Mailing, by first-class mail with postage fully prepaid
Overnight delivery

Court's e-File system

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VANDEVEER GARZIA P.C.

 

 

19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.27 Page 27 of 34

STATE OF uicnicaN IME STAMP

IN THE CIRCUIT COURT FOR THE COUNTY OF WASHTENAW

KENNETH HEINZERLING,
Case No. 19-000361-N!

 

 

 

Plaintiff, Hon. Carole Kuhnke
V.
WALNUT HILL FEEDS, INC. a foreign ECEIVED
corporation, and DANIEL BYLER, Jointly R
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y May 28 2019
Defendants. County
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JOSHUA R. TEREBELO (P72050) ADAM K. GORDON (P45106)
JORDAN M. JONES (P77866) ASHLEY A. SLAGHT (P79211)
MICHIGAN AUTO LAW, P.C. VANDEVEER GARZIA, P.C.
Attorneys for Plaintiff Attorneys for Defendants
30101 Northwestern Highway 840 W. Long Lake Road
Suite 100 Suite 600
Farmington Hills, Ml 48334-6201 Troy, MI 48098
248-353-7575 | Fax 248-254-8091 248-312-2800 / Fax 248-879-0042
jterebelo@michiganautolaw.com adamgordon@vapclaw.com
jjones@michiganautolaw.com aslaght@vapclaw.com

 

 

DEFENDANT WALNUT HILL FEEDS, INC. and DANIEL BYLER’S AFFIRMATIVE

AND OTHER DEFENSES TO PLAINTIFF’S COMPLAINT

NOW COME the Defendants, WALNUT HILL FEEDS, INC. and DANIEL

BYLER, by and through their attorneys, VANDEVEER GARZIA P.C., by Adam K.

Gordon, and pursuant to MCR 2.111(F) assert the following Affirmative and Other

Defenses:
1. The Plaintiff has failed to state a claim upon which relief can be granted.
Za That Plaintiff has (or may have) waived any “right of way” if it is shown

that Plaintiff was traveling in excess of the speed limit (posted or otherwise) in

moments preceding the collision at issue.

 
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3. That Defendant specifically claims statutory set off of all collateral sources
received by Plaintiff.

4. If it is shown that the Plaintiff has failed to mitigate damages as required
by law, then the Plaintiff's entitlement to damages may be precluded in whole or in part.

5. That Defendant enjoys tort immunity for any economic loss sustained by
the Plaintiff pursuant to MCLA 500.3135(2).

6. If the Plaintiff fails to demonstrate a serious impairment of an important
body function or serious permanent disfigurement, then the Plaintiff may not assert a
claim for non-economic damages pursuant to MCLA 500.3135(1) and (7). By asserting

this Affirmative Defense, Defendant hereby gives notice to Plaintiff and the Court of

 

VANDEVEER GARZIA P.C,

 

Defendant's intention to seek the dismissal of this case based upon the legal grounds
set forth herein.

7. Upon the completion of discovery, Defendant reserves the right to show
that the Plaintiff was negligent and/or comparatively negligent in the causation of the
accident.

8. The Plaintiff has failed to state a claim upon which relief can be granted.
For willful and wanton misconduct and gross negligence.

os If it is shown that the Plaintiff was impaired due to the ingestion of alcohol
or controlled substances and that the Plaintiff's fault is greater than or equal to the
aggregate fault of any other person who contributed to Plaintiff's injuries, whether or not
parties to the action, then Plaintiff's claim for damages will be barred pursuant to MCLA
600.2955(a)(1).

10. The Plaintiff's claim for non-economic damages may be barred by MCLA

600.2959 if the jury finds that the Plaintiff's fault is greater than the aggregate fault of

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VANDEVEER GARZIA P.C.

 

 

19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.29 Page 29 of 34

the other person or persons that contributed to the Plaintiff's injury, whether or not
parties to the action.

11. That Defendant may be excused from any violation of statute, ordinance
or common law as a result of a sudden emergency not of his own making.

12. Any and all injuries or damages allegedly sustained by Plaintiff, were a
proximate result of the negligent acts and/or omissions of Plaintiff,

13. That as to Defendant, this action brought against Defendant was filed after
March 28, 1996; therefore, all provisions of Public Act 161 apply to Defendant together
with all provisions of the tort reform that have taken affect by way of illustration, but not
limitation, Defendant cites MCL 600.1629(1), 600.2957(3), 600.6304(3), 600.2960,
600.2946(6), 600.2955, 600.2946(2), 600.2947(5), 600.2946(a), 600.2955(a),
600.2947(4), 600.2945(j), 600.2940(2), 600.2947(1), 600.2945(a), 600.1621, 600.1627,
600.1629, 600.1641, 600.2946, 600.2948, 600.2956, 600.6304, 600.6312, 600.2958,
600.2959, 600.2947, 600.2949(a), 600.2957, 600.6306, and all other provisions that
could in any way have applicability to this matter.

14. That Defendant denies any joint liability by and between the asserted
Defendants in this action, as joint liability is prohibited pursuant to MCLA 600.6304(4).

15. That the Plaintiff is not entitled to recover damages for lost earning
capacity in this third-party automobile negligence action. MCLA 500.3107; Nawrocki v
Hawkeye Security Insurance Company, 83 Mich App 135 (1978); Marquis v Hartford
Insurance Company, 444 Mich 638 (1994).

16. ‘That if it is shown that the actions or omissions of Plaintiff constitute fraud
then Defendant will be entitled to judgement, in whole or in part, as a matter of law.

17. That Plaintiff has failed to state a claim upon which relief can be granted

for gross negligence, negligent entrustmept, violations of the Motor Care Safety Act,

 
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VANDEVEER GARZIA P.C.

 

 

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Title 49 of the Code of Federal Regulations and/or negligence supervision to the extent
said allegations are frivolous and in violation of MCR 2.625. The Defendants provide
notice that, at the appropriate time, they will or may seek sanctions including costs and
attorney fees for frivolous allegations which are unsupported in fact of law.

18. That these Defendants reserve the rights to add any additional affirmative
defenses which may become known through the course of ongoing discovery.

Respectfully submitted,

 
 
 

VANDEVEER GARZI

By: .
ADAM K. GORDON (P45106)
ASHLE SLAGHT (P79211)
VANDEVEER GARZIA, P.C.
Attorneys for Defendants

840 W. Long Lake Rad., Ste. 600
Troy, MI 48098-6340
248-312-2800

 

Dated: May 28, 2019

PROOF OF SERVICE

The undersigned certifies that a copy of the above document was served
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VANDEVEER @ARZIA P. CG.

 

 

STATE

IN THE CIRCUIT COURT FOR THE COUNTY IM IE ST

KENNETH HEINZERLING,

Plaintiff,
V.

WALNUT HILL FEEDS, INC. a foreign

19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.31 Page 31 of 34

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Case No. 19-000361-NI
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corporation, and DANIEL BYLER, Jointly

and Severally,

Defendants.

Washtenaw County
Clerk of the Court

 

JOSHUA R. TEREBELO (P72050)
JORDAN M. JONES (P77866)
MICHIGAN AUTO LAW, P.C.
Attorneys for Plaintiff

30101 Northwestern Highway
Suite 100

Farmington Hills, MI 48334-6201
248-353-7575 / Fax 248-254-8091
jterebelo@michiganautolaw.com
jjones@michiganautolaw.com

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ASHLEY A. SLAGHT (P79211)
VANDEVEER GARZIA, P.C.
Attorneys for Defendants

840 W. Long Lake Road

Suite 600

Troy, Ml 48098

248-312-2800 / Fax 248-879-0042
adamgordon@vqpclaw.com
aslaght@vqpclaw.com

 

RELIANCE ON JURY DEMAND

 

Defendants, WALNUT HILL FEEDS, INC. and DANIEL BYLER, by and through

their attorneys, VANDEVEER GARZIA, P.C., by ADAM K. GORDON hereby rely on the

Jury Demand previously filed by Plaintiff.

Dated: May 28, 2019

Respectfully submitted,

VANDEVEER GAR

  

 

ADAM &GORDO®W (P45106)
ASHLEY A. SLAGHT (P79211)
VANDEVEER GARZIA, P.C.
Attorneys for Defendants

840 W. Long Lake Rd., Ste. 600
Troy, MI 48098-6340
248-312-2800

 
Case 2

 

 

VANDEVEER GARZIA P.C.

 

 

19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.32 Page 32 of 34

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| declare that the statement above is true to the best of my information,
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Case 4]19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.33 Page 33 of 34

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

KENNETH HEINZERLING,
Case No.
Plaintiff, Hon.
V.

WALNUT HILL FEEDS, INC. a foreign
corporation, and DANIEL BYLER, Jointly
and Severally,

 

 

Defendants.

 

JOSHUA R. TEREBELO (P72050) ADAM K. GORDON (P45106)

VANDEVEER GARZIA P.C.

 

 

JORDAN M. JONES (P77866) ASHLEY A. SLAGHT (P79211)
MICHIGAN AUTO LAW, P.C. VANDEVEER GARZIA, P.C.
Attorneys for Plaintiff Attorneys for Defendants

30101 Northwestern Highway 840 W. Long Lake Road

Suite 100 Suite 600

Farmington Hills, Ml 48334-6201 Troy, MI 48098

248-353-7575 / Fax 248-254-8091 248-312-2800 / Fax 248-879-
iterebelo@michiganautolaw.com 0042 adamgordon@vapclaw.com
jjones@michiganautolaw.com aslaght@vgpclaw.com

 

 

CERTIFICATE OF COMPLIANCE WITH 28 USC §1446(d)
Defendants, WALNUT HILL FEEDS, INC. and DANIEL BYLER, by
and through counsel, hereby certified that, in accordance with 28 USC
§1446(d), they provided written notice of the filing of this Notice of Removal

to all parties to this action and that they have filed a copy of the Notice of

 

 

 
Case 2:

 

 

VANDEVEER GARZIA P. C.

19-cv-11576-VAR-DRG ECF No.1 filed 05/29/19 PagelD.34 Page 34 of 34
Removal with the Clerk of the Court for the County of Washtenaw, State of
Michigan.

Respectfully submitted,

VANDEVEER GAR ZA

LA
By: Lf.

ADAM K. GORDON (P45106)
ASHLEY A. SLAGHT (P79211)
VANDEVEER GARZIA, P.C.
Attorneys for Defendants

840 W. Long Lake Rd., Ste. 600
Troy, MI 48098-6340
248-312-2800

 
   

Dated: May 29, 2019

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| declare that the statement above is true to the best of my
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